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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

 

UNlTED STATES OF AMERlCA, )
)
Plaintiff, )
)
vs. ) CASE NUMBER 1 7~MJ -7016
)
MlCHAEL S. PUTMAN )
) Title 18, United States Code
) Section 2113(a)
Defendant. )
CRlMINAL COMPLAINT

 

l, Michael l. Lovell, the undersigned complainant being duly sworn state the following is
true and correct to the best of my knowledge and belief:
COUNT 1
BANK ROBBERY

On or about February 10, 2017, in Madison County, lllinois, within the Southern District
of lllinois,

MICHAEL S. PUTMAN,
defendant herein, by force, violence, and intimidation, did take from the person or presence of
another, money belonging to and in the care, custody, control, management, and possession of

National Bank, a bank whose accounts of which are insured by the Federal Deposit lnsurance
Corporation. All in violation of Title 18, United States Code, Section 2113(a).

AFFIDAVIT

Your affiant, Michael 1. Lovell, after being duly sworn, does hereby state that he is a
Special Agent (SA) with the F ederal Bureau of lnvestigation (FBI) and has been so employed for
nine and one-half years, and as such, is vested with the authority to investigate violations ofFederal

laws, including Titles 18 and 21 of the United States Code. Your affiant also has approximately

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eight years prior law enforcement experience as a municipal Police Officer. Your affiant is
currently assigned to the Springfield Division of the FBI, Fairview Heights, Illinois Resident
Agency and has primary investigative responsibilities for violent and drug crimes occurring in the
Southern District of Illinois.

The statements contained in this affidavit are based on the investigation of your affiant, as
well as information derived from reports and interviews of the law enforcement officers and
witnesses named herein. ln support of this Complaint, your affiant states as follows:

l) On February lO, 2017, at approximately 11:36 a.m)., an adult white male wearing
a light brown canvass jacket over a black hooded sweatshirt entered Regions Bank located at #l
Eastport Plaza, Collinsville, Illinois via the front customer entrance The white male in the light
brown canvass jacket immediately walked to the teller station and approached a Regions Bank
teller whose initials are K. P. The white male in the light brown canvass jacket stated to K. P.,
‘fGimme all the hundreds”. The white male in the light brown canvass jacket then repeated his
demand to K. P. and stated, “Gimme the hundreds”. The white male in the light brown canvass
jacket then reached over the counter into the open teller drawer and grabbed a stack of U.S.
currency. The white male in the light brown canvass jacket then immediately turned and left the
bank through the same customer entrance door he used coming into the bank. The white male in
the light brown canvass jacket was observed by bank employees entering a red late model Kia
Sportage Sports Utility Vchicle (SUV) parked in front of the bank. This vehicle was then observed
leaving the bank parking lot in an unknown direction of travel. Regions Bank later determined
that the white male in the light brown canvass jacket stole a total of $76.00 in U.S. Currency. All
of the bills taken were determined to be $2.00 bills. Regions Bank is insured by the Federal

Deposit lnsurance Corporation (FDIC).

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2) After the white male wearing the light brown canvass jacket was observed leaving
the parking lot of the Regions Bank, bank employees notified the Collinsville Police Department
of the robbery. An alert was disseminated on the lllinois State Police Emergency Radio Network
(ISPERN) regarding the bank robbery with a description of the bank robber and the red Kia
Sportage SUV used as the getaway vehicle.

3) A approximately 11:47 a.m., at a BP station located near the intersection of
Highway 203 and interstate 55, deputies with the United States Marshal Service (USMS) observed
a red Kia Sportage matching the description of the vehicle used in the Regions Bank robbery in
Collinsville, lllinois which had occurred approximately 20 minutes prior. As the red Kia Sportage
SUV began to exit the BP Station lot, USMS deputies attempted to initiate a traffic stop of the
vehicle. The driver of the red Kia Sportage refused to stop and a vehicular pursuit ensued. The
red Kia Sportage ultimately wrecked in East Saint Louis, lllinois near the entrance to the Eads
Street Bridge.

4) The occupants of the wrecked vehicle were identified as MICHAEL S. PUTMAN,
the driver, and Darnell l\/lurray, the passenger PUTl\/IAN and l\/Iurray both Sustained injuries in
the crash and were transported by ambulance to the Belleville Memorial Hospital emergency room
for medical treatment USMS deputies accompanied PUTl\/IAN and Murray to the emergency
room.

5) USMS deputies observed several loose $2.00 bills in the red Kia Sportage at the
scene of the crash. The vehicle was secured and towed to the Collinsville Police Department for
processing by lllinois State Police Crime Scene investigators During processing, lllinois State
Police Crime Scene lnvestigators recovered approximately $16.00 in $2.00 bills from the vehicle.

lnvestigators also located a light brown canvass jacket in the vehicle with $2.00 bills in a pocket

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of the jacket. A black hooded sweatshirt was also recovered from the vehicle during the search.

6) USMS deputies and responding law enforcement also learned that the wrecked red
Kia Sportage, VIN#: KNDPB3ACOE7550462, had been reported stolen near St. Louis, Missouri
at approximately 1:00 a.m. on February 10, 2017.

7) Your affiant and Collinsville Police Department Detective Jose Cerna responded
to Belleville Memorial Hospital to interview PUTMAN and Murray. Upon arrival, your affiant
consulted with attending physicians to determine if PUTMAN and Murray’s injuries would
preclude interview. The attending physicians advised your affiant that PUTMAN and Murray
could be interviewed

8) Your affiant and Detective Cerna conducted an audio/video recorded interview of
MICHAEL S. PUTMAN, date of birth September 14, 19XX. Your affiant provided PUTMAN
with his Miranda warning by reading a Federal Bureau of lnvestigation Advice of Rights form to
PUTMAN. PUTMAN could not read the form due to not having his glasses, but acknowledged
understanding his Miranda rights. PUTMAN’s right wrist was fractured in the crash, so your
affiant did not require PUTMAN to sign the Advice of Rights Form, however, PUTMAN’s entire
Miranda warning was audio/video recorded and witnessed by Detective Cerna.

9) During this initial interview, PUTMAN stated that he did not know why he had
done, “what he did” but did not admit robbing the Regions Bank in Collinsville, lllinois.
PUTMAN stated that Murray was not involved in anything illegal he had done. PUTl\/IAN stated
that he picked Murray up earlier in the day in East Saint Louis, lllinois after attempting to purchase
crack cocaine from Murray. PUTMAN then stated that he was in pain and did not want to continue
talking with your affiant and Detective Cerna. The initial interview of PUTMAN was then

terminated

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10) Your affiant and Detective Cerna then conducted an audio/video recorded
interview of Darnell Murray, date of birth November 21, 19XX. Your affiant provided Murray
with his Miranda warning by reading a F ederal Bureau of lnvestigation Advice of Rights form to
Murray. Murray acknowledged understanding his Miranda rights. Murray sustained several
fractured ribs in the crash and was lying flat on his back with his hands restrained above his head.
In order to avoid causing Murray pain, your affiant did not require Murray to sign the Advice of
Rights Form, however, Murray’s entire Miranda Warning was audio/video recorded and
witnessed by Detective Cerna.

ll) Murray stated that he did not know PUTMAN and first met him earlier in the day
while walking down 10th Street in East Saint Louis, lllinois. Murray stated PUTMAN, who was
driving a red Kia Sportage, pulled over and asked Murray if he had any crack cocaine to sell.
Murray told PUTMAN that he did not have any cocaine, but that he knew where the two of them
could purchase crack cocaine. Murray and PUTMAN then travelled to a residence in East Saint
Louis, lllinois and purchased a $l0.00 “rock” of crack cocaine. PUTMAN and Murray smoked
the crack cocaine.

12) Murray and PUTMAN decided to obtain more money to purchase crack cocaine.
PUTMAN drove to Collinsville, lllinois and pulled up to a bank. PUTMAN parked behind the
bank, exited the vehicle, and went into the bank. Murray stated that he did not know why
PUTMAN went into the bank, but believed that he might be attempting to cash a check in order
to get money for the two of them to purchase crack cocaine. After being gone for only one or two
minutes, PUTMAN reentered the vehicle and told Murray that there were too many people in the

bank. Murray did not know the name or exact location of this bank.

13) On February 10, 2017, your affiant first responded to US Bank in Collinsville,

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lllinois in reference to a reported bank robbery. Upon arrival your affiant learned that a white
male wearing a light brown canvass jacket, a black hooded sweatshirt with the hood up, and a
white painter’s mask entered the bank at approximately 11;25 a.m. Due to the man’s suspicious
appearance, the bank’s assistant manager immediately engaged the white male in the light brown
canvass jacket in conversation The white male in the light brow canvass jacket did not demand
any money, but quickly left the bank and was observed entering a red SUV parked behind the US
Bank. Your affiant has observed surveillance photographs of the suspicious white male at the US
Bank on February 10, 2017 and believes that person to be MICHAEL S. PUTMAN based on that
portion of the man’s face that it visible over the painter’s mask, the identical nature of the clothing
depicted in the surveillance photographs at this bank and at Regions Bank, the clothing located
during a search of the stolen wrecked red Kia Sportage driven by PUTMAN, and the statements

of PUTl\/IAN and Murray.

14) According to Murray, a few minutes after leaving the first bank, PUTMAN pulled
into the front parking lot of another bank in Collinsville, lllinois PUTMAN then entered this
second bank. PUTMAN exited the bank after only a minute or two and hurriedly reentered the
red Kia Sportage. Murray and PUTMAN then drove to a convenience store where PUTl\/IAN
bought gas, beer, and cigarettes Murray recalled that PUTMAN used $2.00 bills to make these
purchases When law enforcement attempted to stop PUTMAN leaving the convenience store,
PUTMAN told Murray he did not want to go to jail and refused to stop. PUTl\/IAN also refused

to pull over and let Murray out of the vehicle.

15) PUTMAN was discharged from Belleville Memorial Hospital and transported by
Collinsville Police to the Collinsville Police Department. At the Collinsville Police Department,

PUTMAN requested to speak to your affiant and Detective Cerna again. PUTMAN was placed

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in an audio/video recorded interview room and reminded that his Miranda rights still applied prior

to being interviewed

16) During interview at the Collinsville Police Department, PUTl\/IAN acknowledged
going into a Collinsville, lllinois bank wearing a paintcr’s mask and a tan Carhartt jacket.
PUTMAN recalled telling a bank employee he was sick and that was why he was wearing a

painter’s mask. At this first bank, PUTl\/IAN did not ask for money or attempt to take any money.

18) PUTMAN admitted to your affiant and Detective Cerna that he then drove to a
second Collinsville bank, parked in front of the bank, and entered the bank through the front doors
PUTMAN did not wear a mask or hood in the second bank. PUTMAN stated that he walked up
to a female teller and told her to give him $100 dollar bills PUTMAN stated he reached over the
counter, grabbed bills from the teller drawer, and fled the bank through the front door. PUTl\/IAN

continued to insist that Murray did not take part in the robbery and did not know PUTMAN

planned to rob the bank.

FURTHER YOUR AFFIANT SAYETH NAUGHT.

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MICHAEL l YVEL/L

Special Agent, Federal Bureau'of lnvestigation

State of lllinois
SS.

\/\/\/

County of l\/ladison

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Sworn to before me and subscribed in my presence on the 12th day of February 2017, at
East St. Louis, lllinois

/ Magistrate _ludge '__
_,_-_z’_ /_' stephen C. Williams

DONALD S. BOYCE
United States Attorney

Ali Summers
Assistant United States Attorney

